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FEDERAL BUREAU OF INVESTIGATION

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Date of entry 05/11/2023

CORPORAL i. PRINCE GEORGE'S COUNTY POLICE DEPARTMENT, was interviewed by
webcast. AUSAs Samantha Miller and Sean McCauley attended the interview, as well as FBI SA Ryan Dittmar.
After being advised of the identities of the interviewing Agents and the nature of the interview,
provided the following information:

[AUTHOR'S NOTE: was interviewed previously by the Author about the events of January 6 on
February 3, 2021. Any duplicative information was not memorialized herein.]

 

  
  
  
  

was a Corporal with PRINCE GEORGE'S COUNTY POLICE DEPARTMENT ("PGPD"). There were
50 PGPD officers serving a three-day mission to support METROPOLITAN POLICE DEPARTMENT ("MPD") from
January 5-7, 2021. The PGPD officers were acting under MPD's jurisdiction while in the District. On January 5,
GE and other PGPD officers went to the D.C. convention center and "sat from 2 PM to 12 AM."

 

expected January 6 would be the same as January 5. He and his officers assembled at PGPD's
Riverdale Headquarters at noon. Instead, he was told to "throw [his] stuff on, quick, we're going in.” Neither

nor his fellow officers knew what was going on. His commanders briefed him on the situation while
PGPD was on the bus to the U.S. CAPITOL (“USC”). Their mission was to “get between the crowd and the
inaugural stage” and “keep [the crowd] from taking the stage.”

  

and his PGPD cohort arrived at the USC. By then, “it was too late” to prevent the crowd from taking
the stage, as the crowd was “like ants.” PGPD stationed themselves on the West side of the USC, facing North,
between the walkway to the inaugural stage and the USC. PGPD got into formation but did not start pushing
people away immediately. wanted to “make room for the [U.S.] CAPITOL POLICE ejecting people”
from the USC. He also did not want to have his officers’ backs to those people ejected from the USC.

 

PGPD took up the above position about 20 minutes before the “initial push to clear folks out.” and
his squad had experience with civil disturbances, including the FREDDIE GRAY demonstrations in Baltimore.
PGPD “knew how to do formations.” When PGPD lined up, the crowd moved ten yards back right away, though
people “kept yelling and screaming.” The MPD SOD Commander “yelled charge after clearing the [USC], we
[PGPD] pushed [the crowd] back.” [J issued “every conceivable command. ..to move back” to the
crowd. , however, “never said ‘hold the line.”

 
  

[AUTHOR'S NOTE: At this point, the AUSAs identified for JI the individual wearing a tan jacket and
camouflage hat, whom acknowledged. The AUSAs identified said individual as KENNETH
THOMAS, and the defendant in the instant case. This individual will be named as “THOMAS?” in the remainder of
the 302 for clarity.]

 

 

H remembered THOMAS. THOMAS was one of the first people PGPD encountered, as he was “in
front” of the crowd. THOMAS “became very aggressive” and was “taking runs at my shield.” THOMAS was also
recording himself simultaneously. admitted that THOMAS “caught me I crossfooted,
right when he [THOMAS] was hitting me _l fell on my back and another officer.”
was “scared I’d get trampled” and “really [thought he] was going to get stomped” at that point.

 
 
  

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Investigationon 05/04/2023 at Manassas, Virginia, United States (Phone)

 

File # 89B-WF-3368293-214 AFO Date drafted 05/05/2023

 

by Alexis Brown, Ryan Dittmar

 

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(U//FOUO) Interview of Corporal i
Continuation of FD-302 of [A ,On 05/04/2023 page 2 Of 2

 

GEE estimated his interaction with THOMAS lasted “maybe a couple minutes.”

also recalled a “group of guys having a conference” at the beginning of his time at the USC. The
group was composed of “all white [men], tactical vests and helmets, tactical organizer on vests velcro’ed in.”

had a “sense they knew each other” and that they were “organized.” One of the men in the group
“gave a command and it was like ‘go.” This activity caused [NN to remark to his superior that “these
guys aren't just a normal mob, boss.” iy acknowledged that “you give me 10,000 nuts that are

motivated, you got a mob.”

As rioters were cleared from other locations, and PGPD encountered those rioters coming from
other sides. At the same time, more officers started appearing behind PGPD after the D.C. citywide emergency
was announced. “got crushed” between the crowd and officers and could not tell whether his gun
was holstered. could only move his head and “headbutted some guy back and forth” for some time.
Eventually, the crowd started to disperse when PGPD pushed people to the Northeast corner of the USC.

  
 

  
 

From approximately 1900 to 0300 on January 7, PGPD remained at the USC as a reactionary force.
went into the USC and met Senator SANDERS, Vice President PENCE, and Vice President-Elect HARRIS.
was released at around 0300 and got back on the buses to Riverdale Headquarters.
returned to his house at around 0400 on January 7. He was covered in “so much gas, so much OC spray” that he
had to undress outside his residence.

and PGPD returned to SOD at 1200 on January 7. He and his officers did not deploy to the USC. As
drove down to D.C., he saw police cars from as far away as New York driving in as well.

 

 
 

was not wearing a bodycam on January 6. reviewed USC CCTV footage with the
AUSAs. From the footage’s positioning, estimated the camera was pointing East to the inaugural
stage behind it. a identified himself “just above the yellow flag” in the video, wearing black with a
shield. The footage reviewed occurred “pre-D.C. command.” identified the individual who hit him as
“the guy with the coyote brown jacket,” which the AUSAs confirmed was THOMAS. This assault occurred at
approximately 4:22:20 in the video. THOMAS hit , which caused to fall in the video.
HE “lid not push THOMAS back; THOMAS must have “bounc[ed] back from my shield or kicked off it.”

The AUSAs showed a compilation video of footage created by a third party. identified
himself as the officer on the ground in one of the videos. When THOMAS was repeating “let him up,” THOMAS
was not interacting with i. identified himself interacting with THOMAS in the bottom
right video. THOMAS did not engage with again after their interaction. NM recalled
THOMAS telling officers that “we’re [the crowd] on your side” felt THOMAS “had a funny way of
showing’ support for officers.

 

   

 

   

 

  

joined the U.S. ARMY as a policeman. January 6, 2021 was “one of the few times | was honestly

scared.” That day, thought he “mighta bitten off more than | can chew.” There was “nothing like this
before” in "s experience.

 
    

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